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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 McALLEN DIVISION

ESTATE OF GABRIEL MIRANDA, JR.              §
          Plaintiff,                        §
v.                                          §        C.A. No. _________________
HARLINGEN CONSOLIDATED                      §
INDEPENDENT SCHOOL DISTRICT,                §
ARTURO J. CAVAZOS,                          §
EDINBURG POLICE DEPARTMENT                  §
DAVID EDWARD WHITE,                         §
THE CITY OF EDINBURG, TEXAS,                §
RICHARD H. GARCIA,                          §
RICHARD M. HINOJOSA,                        §
THE COUNTY OF HIDALGO,                      §
RAMON GARCIA,                               §
NORMA JEAN FARLEY, and                      §
VALLEY FORENSICS, P.L.L.C                   §
          Defendants                        §

                           PLAINTIFF’S ORIGINAL COMPLAINT

          COMES NOW, Plaintiff the ESTATE OF GABRIEL MIRANDA, JR., to file

this “Plaintiff’s Original Complaint” and in support thereof states as follows:

                                    PREAMBLE

       On November 14, 2016, Gabriel Miranda, Jr., age 13, fell, or was pushed, out of
the emergency door exit of a Harlingen CISD school bus going approximately 65 miles
per hour over poor surface conditions, resulting in Little Gabriel’s death. After his
death, the Defendants conspired to conclude that Little Gabriel’s death was a suicide
(hereafter, the “Great Lie”). The Great Lie was based on discriminatory acts and
omissions of the Defendants based on gender and ethnicity. This is a suit for damages to
redress such discrimination.
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                                A.     NATURE OF SUIT

          1.     Plaintiff files this action for relief pursuant to 42 U.S.C. § 1983 with

regard to the violation of the laws of the United States, seeking damages for the

Defendants’ violation of the Constitution of the United States.

                                     B.     PARTIES

          2.     Plaintiff the ESTATE OF GABRIEL MIRANDA, JR. is the estate

representing the decedent, Gabriel Miranda, Jr. For the purposes hereof, said Estate

shall be referred to as the “Estate” or “Little Gabriel.”

          3.     Defendant HARLINGEN CONSOLIDATED INDEPENDENT

SCHOOL DISTRICT (“Harlingen CISD”) is a public school district located in the

State of Texas and may be served with citation by serving its superintendent as

follows:

                  Harlingen Consolidated Independent School District
                          Arturo J. Cavazos, Superintendent
                              407 N. 77 Sunshine Strip
                               Harlingen, Texas 78550

          4.     Defendant ARTURO J. CAVAZOS (“Cavazos”) is an individual

residing in the State of Texas and may be served with citation at his place of work

as follows:


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                          Arturo J. Cavazos, Superintendent
                  Harlingen Consolidated Independent School District
                              407 N. 77 Sunshine Strip
                               Harlingen, Texas 78550

This action is brought against Defendant Cavazos in his individual capacity, as well

as in his capacity as the superintendent of Defendant Harlingen CISD.

          5.     Defendant EDINBURG POLICE DEPARTMENT (“Edinburg PD”)

is a public police department owned and operated by Defendant The City of

Edinburg and may be severed with citation as follows:

                             Edinburg Police Department
                              Edgar Ruiz, Interim Chief
                                1702 S. Closner Blvd.
                               Edinburg, Texas 78539

          6.     Defendant DAVID EDWARD WHITE (“White”) is an individual

residing in the State of Texas and may be served with citation at his place of work

at:

                                David Edward White
                             Edinburg Police Department
                                1702 S. Closner Blvd.
                               Edinburg, Texas 78539

This action is brought against Defendant White in his individual capacity, as well as

in his capacity as the former Chief of Police of Defendant Edinburg PD.


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          7.     Defendant THE CITY OF EDINBURG, TEXAS (“Edinburg”) is a

political subdivision created within the State of Texas and may be served with

citation as follows:

                            The City of Edinburg, Texas
                              Richard Molina, Mayor
                             415 W. University Drive
                               1702 S. Closner Blvd.
                              Edinburg, Texas 78541

          8.     Defendant RICHARD H. GARCIA (“RH Garcia”) is an individual

residing in the State of Texas and may be served with citation at his place of work

at:

                                Richard H. Garcia
                            The City of Edinburg, Texas
                             415 W. University Drive
                              Edinburg, Texas 78541

This action is brought against Defendant RH Garcia in his individual capacity, as

well as in his former capacity as the former mayor of Defendant Edinburg.

          9.     Defendant RICHARD M. HINOJOSA (“Hinojosa”) is an individual
residing in the State of Texas and may be served with citation at his place of work
at:
                               Richard M. Hinojosa
                            The City of Edinburg, Texas
                             415 W. University Drive
                              Edinburg, Texas 78541

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This action is brought against Defendant Hinojosa in his individual capacity, as well

as in his capacity as the former City Manager of Defendant Edinburg.

          10.    Defendant THE COUNTY OF HIDALGO, TEXAS (“Hidalgo”) is a

political subdivision created within the State of Texas and may be served with

citation as follows:

                           The County of Hidalgo, Texas
                           Ramon Garcia, County Judge
                               100 N. Closner Blvd.
                              Edinburg, Texas 78539

          11.    Defendant RAMON GARCIA (“Judge Garcia”) is an individual

residing in the State of Texas and may be served with citation at his place of work

at:

                           Ramon Garcia, County Judge
                           The County of Hidalgo, Texas
                               100 N. Closner Blvd.
                              Edinburg, Texas 78539

This action is brought against Defendant Judge Garcia in his individual capacity, as

well as in his capacity as the County Judge of Defendant Hidalgo.

          12.    Defendant NORMA JEAN FARLEY (“Farley”) is an individual

residing in the State of Texas and may be served with citation at her place of work

at:

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                                 Norma Jean Farley
                           VALLEY FORENSICS, P.L.L.C,
                           3100-A S. Business Highway 281
                               Edinburg, Texas 78539

This action is brought against Defendant Farley in her individual capacity.

          13.    Defendant VALLEY FORENSICS, P.L.L.C. is a Texas professional

limited liability company (“VF”), does business in the State of Texas, and may be

served with citation by serving Defendant VF’s member as follows:

                           VALLEY FORENSICS, P.L.L.C,
                           c/o Norma Jean Farley, member
                           3100-A S. Business Highway 281
                                Edinburg, Texas 78539

                           C. JURISDICTION and VENUE

          14.    The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under Section 1983 of Title 42 of

U.S.C. (“Section 1983”).

          15.    Venue is proper in the Southern District of Texas (McAllen Division)

because all the actions of the Defendants took place in Hidalgo County, Texas,

which is within the McAllen Division of the Southern District of Texas in the

United States Federal District Courts.




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                           D.    FACTUAL ALLEGATIONS

                                 Welcoming Little Gabriel

          16.    Although the temperature in Richmond, Texas reached a chilly 36

degrees on the day Plaintiff Little Gabriel was born (December 28, 2002), Little

Gabriel greeted his new world with a smile that would warm the heart of everyone.

          17.    Plaintiff Little Gabriel weighed 6 pounds, 5 ounces at birth and was

perfect in every possible way.

          18.    Little Gabriel’s birth gave tremendous joy not only to his mother

(“Maria”) and father (“Gabriel, Sr.”) but also to his grandparents, uncles, aunts,

numerous cousins, brother, and sister.

          19.    Little Gabriel’s life at home was a world of excitement and joy, filled

with countless hugs to and from his family.

                                          School Days

          20.    From pre-kindergarten through fifth grade, Plaintiff Little Gabriel

attended Travis Elementary School within Defendant Harlingen CISD. Science and

Music were his favorite classes, with David Garza being his favorite teacher at

Travis Elementary School. Perhaps Mr. Garza was one of the reasons why music

would become such an important part of Little Gabriel’s life.

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          21.    For sixth grade in 2013, Plaintiff Little Gabriel moved up to Vernon

Middle School within Defendant Harlingen CISD, which would be the last school

Little Gabriel would ever attend in his young life.

          22.    At Vernon Middle School, Plaintiff Little Gabriel studied hard. As of

the second week in November 2016, Little Gabriel had a grade of 100 in each of the

following four of his classes:

                              Science;
                              American history;
                              School band; and
                              Physical education.

          23.    Plaintiff Little Gabriel’s love for music also continued to blossom.

Little Gabriel joined the Vernon Middle School Band and learned how to play the

baritone saxophone and saxophone.

          24.    One of Little Gabriel’s favorite songs was the 1946 contemporary pop

hit Beyond the Sea as arranged for the 2003 animated Disney movie Finding Nemo.

          25.    Plaintiff Little Gabriel had music everywhere in his life. Little Gabriel

would Google songs he liked, download the respective sheet music, and then sound

out the notes on his saxophone.




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          26.    Whether pop hits from today to country, Tex-Mex, jazz classics,

Beethoven, Bach, or hits from the 50s through 70s, Plaintiff Little Gabriel loved

them all.

          27.    During the week of November 7, 2016, Plaintiff Little Gabriel’s hours

of practice on the baritone saxophone paid off as he was awarded “first chair” in the

Vernon Middle School band. Attached hereto as Exhibit “1” and incorporated

herein by reference is Little Gabriel smiling proudly in his band uniform.

          28.    So overjoyed with his band participation, Plaintiff Little Gabriel even

designed a t-shirt (“Band T-Shirt”) for the Vernon Middle School Band— “Free

Hugs For Everyone” surrounding a cute alien animal.

                                 The Day the Music Died

          29.    November 14, 2016 was a Monday. Plaintiff Little Gabriel awoke

early, excited about his upcoming field trip. Little Gabriel and his classmates from

Vernon Middle School would be going to visit The University of Texas Rio Grande

Valley Campus (“Field Trip”).

          30.    Being just a few miles away, Little Gabriel and his class would board

Defendant Harlingen CISD school buses for the quick trip to Edinburg.



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          31.    Although Plaintiff Little Gabriel was only in the 8th grade, thoughts of

college were not far away. Little Gabriel had already taken early education

engineering courses at Texas State Technical College as a mean to obtain additional

certificates or degrees upon his high school graduation.

          32.    On the morning of November 14, 2016, Plaintiff Little Gabriel

specifically reminded his mother (Maria) to be sure and order the Band T-Shirts that

Little Gabriel had designed.

          33.    Maria had no idea that her discussion with Plaintiff Little Gabriel that

morning about the Band T-Shirt would be the last words she ever spoke with her

precious son.

          34.    Plaintiff Little Gabriel and 40 others from his class at Vernon Middle

School boarded school bus #118 (“Bus #118”) which is owned and operated by

Defendant Harlingen CISD.

          35.    Before boarding Bus #118 for the Field Trip, Plaintiff Little Gabriel

was informed that he had been selected to play a “solo” piece at an upcoming band

performance.

          36.    On that fateful day, Bus #118 was being driven by Laura Castro Ruiz

(“Ruiz”), an employee of Defendant Harlingen CISD.

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          37.    Protocols of Defendant Harlingen CISD require that each school bus

have two adults on board for field trips, not counting the bus driver.

          38.    To ensure the safety of Plaintiff Little Gabriel and his classmates

during the Field Trip, Defendant Harlingen CISD assigned two of the teachers from

Vernon Middle School to ride on Bus #118 along with the students.

          39.    Selected to monitor and ensure the safety of Plaintiff Little Gabriel

and his classmates while traveling on Bus #118 were A. J. Ayala (“Ayala”) and

Michael J. Carlsted (“Carlsted”).

          40.    Ayala was Little Gabriel’s eighth grade American history teacher.

Carlsted was Little Gabriel’s Science teacher. Little Gabriel liked both teachers a

great deal.

          41.    Protocols of Defendant Harlingen CISD require that one of the

monitoring adults sit in the back of the school bus and one sit in the front, a

protocol based on common sense and reasonable care. However, Ayala and Carlsted

chose to sit together at the front of Bus #118.

          42.    The choice made by Ayala and Carlsted was literally a fatal decision

made as to Plaintiff Little Gabriel’s life.



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          43.    Plaintiff Little Gabriel and some of his friends elected to sit at the rear

of the Bus #118 for the Field Trip.

          44.    By all accounts, the students on Bus #118 were boisterous and happy

as they left on the Field Trip.

          45.    However, at approximately 9:45:02 a.m. Monday, November 14, 2016,

Plaintiff Little Gabriel fell, or was pushed, out of the emergency exit door of Bus

#118 (“EEx. Door”).

          46.    With Bus #118 traveling at approximately 65 miles per hour over poor

road conditions, there was little chance Plaintiff Little Gabriel would survive such a

fall (hereafter, “Little Gabriel’s Fall”).

          47.    Although Bus #118 continued traveling for several miles before

pulling over to the side of the road, the oncoming cars following Bus #118 swerved

or stopped to avoid running over Plaintiff Little Gabriel.

          48.    A second school bus (identified as Defendant Harlingen CISD school

bus #38 (“Bus #38”), which was also carrying members of Little Gabriel’s class,

was next to arrive and did pull over to the right of the roadway.

          49.    Sheriff’s Deputy James Prado of the Hidalgo County Sheriff’s

department was one of the first law enforcement personnel to arrive on the scene.

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The description of what occurred next is taken verbatim from Deputy Prado’s

incident report:

                 “On Monday, November 14, 2016, Hidalgo Co. Sheriff's
                 Deputy James Prado #2216 responded to north of Canton Road
                 on U.S. 281, regarding a child who fell out of a school bus on
                 the highway.

                 -     Deputy Prado moved north from Canton Road on the
                       northbound 281 frontage road, onto the on ramp.

                 -     Deputy Prado moved forward towards the end of the on
                       ramp and observed a small blue colored passenger car;
                       stationary facing north.

                 -     Deputy Prado saw a young man on his knees, without a
                       shirt and appeared to be holding another individual in his
                       arms.

                 -     Deputy Prado provided dispatch with the location and had
                       also observed a school bus (#38) parked on the shoulder
                       of the roadway, several yards away.

                 -     Deputy Prado ran towards to the two people and found a
                       young boy lying upward on the man's lap.

                 -     A large amount of blood was exiting from the back of the
                       boy's head, while man appeared to have removed his t-
                       shirt to wrap it behind the boy's head.

                 -     The man told Deputy Prado that the boy wasn't breathing
                       and had no pulse.



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                 -   Deputy Prado found blood around the boy's mouth and
                     on the man helping the boy.

                 -   Deputy Prado put on his latex rubber gloves, to start
                     checking the boy's vital signs.

                 -   Deputy Prado noticed the boy's chest wasn't rising and
                     wouldn't respond to the man as he kept talking to the boy.

                 -   A female individual approached Deputy Prado and said
                     there were three buses that were parked further up from
                     the scene.

                 -   The female said she heard a young girl inside bus #38
                     scream and had said the boy fell out of the bus.

                 -   Deputy Prado ran to his patrol unit, to get his medical gear bag.

                 -   Deputy Prado ran back to try and provide treatment for the boy.

                 -   Deputy Prado told the man to help him lay the boy down
                     flat on the ground, so CPR could be provided, in which
                     his body was adjusted so he could lie down.

                 -   Deputy Prado saw a female Edinburg Police Officer
                     arrive to assist and she told to start applying chest
                     compressions on the boy.

                 -   Deputy Prado checked his medical bag and wasn't able to
                     find an item to help the boy breath.

                 -   Shortly afterwards, several Edinburg Police Officers
                     arrived on the scene.

                 -   Several Edinburg Firefighters had also arrived to provide
                     treatment for the boy.
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                 -    Deputy Prado identified the female as [witness one] who
                      said she was on one of the school buses (#38) and was
                      chaperoning the students in the bus.

                 -    [Witness one] said she was with the Harlingen School
                      District, but wasn't sure exactly how the boy fell out of
                      the bus.

                 -    [Witness one] added that the boy’s name was Gabriel, but
                      didn’t know his grade or age.

                 -    Deputy Prado contacted the male individual, helping the
                      boy as [witness two].

                 -    [Witness two] said he was driving northbound on
                      Highway 281, when he saw the young boy lying on the
                      ground and stopped to help him.

                 -    [Witness two] said he saw the boy was bleeding a lot
                      from the back of his head.

                 -    [Witness two] told Deputy Prado that he took off his shirt
                      and wrapped it up, so he could try and stop the bleeding
                      on the boy's head.

                 -    [Witness two] said he didn't know who the boy was, but
                      that he had to do something.”

          50.    Sheriff’s Deputy Jose Lopez of the Hidalgo County Sheriff’s

department arrived at the scene to assist Deputy Prado. Deputy Lopez noted:

                 “On November 14, 2016 at about 0947 hours I Hidalgo County
                 Sheriff's Office Deputy Jose Lopez #4040 was dispatched

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                 North of Freddy Gonzalez Road on Expressway 281, Edinburg,
                 Texas in reference to Assist Agency Report. Dispatch advised
                 that a child possibly fell off a school bus.

                 -     Arrived at location and observed a school bus stationary
                       north of Sprague Road on Expressway 281.

                 -     Observed Edinburg Fire Department at location.

                 -     Proceeded to assist with traffic control by placing my
                       unit several hundred feet south from the scene.

                 -     Observed other Emergency units and Edinburg Police
                       units arrive at location.

                 -     Resumed patrol.

                 -     No further action taken.”

          51.    Bus #38 (filled with classmates of Plaintiff Little Gabriel) remained at

the scene for some time, thereby exposing the Vernon Middle School students on

board to witness the tragic events unfolding.

                              Directed to the Wrong Hospital

          52.    Emergency personnel raced Plaintiff Little Gabriel to Doctors Hospital

at Renaissance in Edinburg.

          53.    However, Graciela Gutierrez (the principal of Vernon Middle School)

called Maria and informed her that Plaintiff Little Gabriel was being taken to

Memorial Arms Hospital in McAllen.
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          54.    Plaintiff Gabriel Sr. was at the house with Maria that morning, and

they both raced out of their home. With no real idea of what was happening to their

son (Plaintiff Little Gabriel), Maria and Gabriel Sr. headed towards Memorial Arms

Hospital in McAllen.

          55.    At approximately 10:25 a.m., Maria received another call from

Principal Gutierrez. Principal Gutierrez then informed Maria and Gabriel Sr. that

Plaintiff Little Gabriel was actually being taken to Doctors Hospital at Renaissance

in Edinburg, not Memorial Arms Hospital in McAllen.

          56.    By the time Maria and Gabriel Sr. finally arrived at Doctors Hospital at

Renaissance in Edinburg, Plaintiff Little Gabriel had been pronounced dead

(hereafter, “Little Gabriel’s Death”).

          57.    Hundreds of family members and friends would gather to give their

final farewells to Plaintiff Little Gabriel.

          58.    To ensure that Plaintiff Little Gabriel’s plans for his Band T-Shirt

came true, Maria and Gabriel Sr. ordered t-shirts made with Little Gabriel’s shirt

design. Maria and Gabriel Sr. then donated the Band T-Shirts to the Vernon Middle

School Band.



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                                   The Non-Investigation

          59.    As horrific and tragic as that moment of Plaintiff Little Gabriel’s Death

was for Maria and Gabriel, little did they know that the Defendants would

intentionally take acts and make ommissions which would further harm their now

deceased son, Plaintiff Little Gabriel.

          60.    The investigation conducted by Defendants into Little Gabriel’s Death

(“the Non-Investigation”) was to last no more than 48 hours.

          61.    The Non-Investigation appears to have been limited to the following:

                       (a)    some photographs of the scene and the inside of
                              Bus #118 were taken;

                       (b)    the video taken from inside of Bus #118 (“Bus
                              #118 Video”) was purportedly reviewed;

                       (c)    after a business (located near the scene) reported
                              that its outside security camera might have
                              recorded (“CCTV Clip”) Plaintiff Little Gabriel’s
                              Fall, Defendant Edinburg PD made a hand copy of
                              such CCTV Clip [for reasons unknown, Edinburg
                              PD did not take custody of the original digital
                              recording of the CCTV Clip];

                       (d)    a toxicology report (“Toxicology Report”) was
                              ordered; and

                       (e)    Defendant Hidalgo County instructed its
                              subcontracted pathologist, Defendants Farley and
                              VF, to conduct an autopsy (“Autopsy”).
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For the purposes hereof, subparagraph (a) to (e) shall be collectively referred as to

the “The Purposely Limited Evidence.”

          62.    On the day of Plaintiff Little Gabriel’s Death, Defendant Cavazos

informed the public that Defendant Harlingen CISD had just recently received

funding for new video cameras to be installed in its school buses. As a result,

Cavazos announced that the Bus #118 Video would provide the answers within just

a matter of hours.

          63.    Although never subsequently announced by any of the Defendants, the

video system on Bus #118 Video had failed. Reminiscent of the infamous “18

minute gap” of the Watergate Tapes which resulted in the resignation of President

Richard M. Nixon, the video system on Bus #118 shows a blank screen until after

Plaintiff Little Gabriel’s Fall.

          64.    Although audio from Bus #118 was available, there is no indication

that the Non-Investigation included more than just a cursory examination.




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                                      The Great Lie

          65.    On just the second day after Plaintiff Little Gabriel’s Death, in the

morning of Wednesday, November 16, 2017, Defendants announced the purported

cause of Little Gabriel’s Death.

          66.    None of the Defendants had the decency of personally informing any

of the family of Plaintiff Little Gabriel that a cause of death had been decided upon.

Rather, in front of Plaintiff Little Gabriel’s home and standing before family

members, friends, and neighbors, Lt. Oscar Trevino (then, an Assistant Police Chief

of Edinburg PD) yelled: “It is being ruled a suicide” [meaning Little Gabriel’s

Death] (hereafter, the “Great Lie”). Unbelievably, the Non-Investigation concluded

that Little Gabriel had purposely “jumped” from Bus #118 with the sole intent of

taking his own life.

          67.    The adoption of the Great Lie by Defendants was based solely on (a) a

rumor from a student on Bus #118, who stated that Plaintiff Little Gabriel was upset

because his puppy love girlfriend had purportedly broken up with him, (b) on three

seconds of a 25 second video clip, that, actually shows no evidence to support the

Great Lie, and, (c) most importantly, the apparently shared view of Defendants that




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it is common for young men (meaning Hispanic) from the Valley to commit

suicide, even without ever showing prior signs of depression.

           68.   Defendants acted in concert as to the Non-Investigation and the

adoption the Great Lie:

                      (a)   even though the evidence indicates that Plaintiff
                            Little Gabriel fell or was pushed from the EEx.
                            Door;

                      (b)   even though the location of the fatal blow to
                            Plaintiff Little Gabriel’s head does not support the
                            conclusion of the Great Lie;

                      (c)   without any evidence indicating that Plaintiff Little
                            Gabriel was depressed, despondent or upset;

                      (d)   without interviewing Maria, Gabriel Sr.;

                      (e)   without interviewing anyone in Plaintiff Little
                            Gabriel’s family;

                      (f)   even though there is no Bus #118 video footage
                            showing Plaintiff Little Gabriel’s Fall;

                      (g)   even though no transcript of the audio from Bus
                            #118 was ever made;

                      (h)   without an examination of the internal workings of
                            the EEx. Door;




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                       (i)   without any review into whether there were any
                             emotional issues ongoing as to Plaintiff Little
                             Gabriel; and

                       (j)   without any drug or toxicology test having been
                             ordered of the Bus #118 driver, being Ruiz.

For the purposes hereof, subparagraph (a) to (j) shall be collectively referred as to

the “Evidence Ignored.”

          69.    Although the Autopsy performed for Defendant Hidalgo County by

Defendants Farley and VF, and subsequently adopted by the other Defendants,

concluded that the “manner” of Little Gabriel’s Death was suicide (“Autopsy

Conclusion”), the Autopsy Conclusion is nothing but an intentionally derived sham,

coordinated by the Defendants.

          70.    No further official review into Plaintiff Little Gabriel’s Death would

be undertaken by any of the Defendants.

          71.    The Plaintiff Estate is being irreparably harmed by Defendants’

continued reliance upon, and the public and private pronouncements and assertions

by the Defendants, that:

                 (a)   Plaintiff Little Gabriel was depressed, despondent, upset,
                       or suicidal on November 14, 2016;

                 (b)   Plaintiff Little Gabriel jumped from EEx. Door of Bus
                       #118;
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                 (c)    Plaintiff Little Gabriel jumped from the EEx. Door of
                        Bus #118 for the purpose of taking his own life; and

                 (d)    the Autopsy Conclusion was that Plaintiff Little Gabriel
                        had committed suicide.

For the purposes hereof, the foregoing assertions shall be collectively referred to as

the “Continued Falsehoods.”

          72.    Defendants’ continued reliance upon, and the continual public and

private pronouncements and assertions of, the Continued Falsehoods has caused,

and is expected to continue to cause, serious, permanent, and irreparable harm to

the Plaintiff Estate.

          73.    None of Defendants has the legal or moral right to continue to cause

such harm.

                                 The Family Investigation

          74.    Under any scenario, the pain suffered by the family of Plaintiff Little

Gabriel is unimaginable and beyond description. However, Defendants’ continued

and intentionally infliction of additional harm to the Plaintiff Estate by relying on

the Great Lie (after only a forty-eight hour investigation and without regard for the

Evidence Ignored) is malicious and reprehensible.



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          75.    However, Defendants adoption the Great Lie did not mean that the

family of Plaintiff Little Gabriel was going to accept the Great Lie. Just because the

Defendants did not care about Little Gabriel’s Death does not mean the family of

Little Gabriel was finished looking for answers.

          76.    Beginning the day of Plaintiff Little Gabriel’s Death and continuing

through the filing of this lawsuit, the family of Plaintiff Little Gabriel has not

ceased asking questions (“Family Investigation”).

          77.    In part, the Family Investigation has found the following:
                       (a)   Defendant Harlingen CISD had a duty to maintain
                             Bus #118 to ensure that the operation and use of
                             Bus #118 would not create or allow for harm to
                             come to any of the students while riding Bus #118;

                       (b)   the driver of Bus #118 (being Ruiz) was, at all
                             times relevant to Plaintiff Little Gabriel’s Fall, an
                             employee of Defendant Harlingen CISD;

                       (c)   at all times relevant to Plaintiff Little Gabriel’s
                             Fall, Ruiz was acting within her scope of
                             employment with Defendant Harlingen CISD;

                       (d)   Defendant Harlingen CISD had a duty to ensure
                             that Ruiz was properly trained in all aspects of the
                             operation and use of Bus #118;

                       (e)   Defendant Harlingen CISD had a duty to ensure
                             that Ruiz was not in an impaired condition while


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                          operating Bus #118 on the day of Plaintiff Little
                          Gabriel’s Fall;

                    (f)   within Ruiz’s scope of duties as the driver of Bus
                          #118, Ruiz had an obligation to inspect and ensure
                          that all aspects of Bus #118 would operate and
                          could be used in a safe manner while being driven
                          on the day of Plaintiff Little Gabriel’s Fall;

                    (g)   within Ruiz’s scope of duties as the driver of Bus
                          #118, Ruiz had an obligation to inspect and ensure
                          the interior and exterior of the EEx. Door on Bus
                          #118 would operate and could be used properly on
                          the day of Plaintiff Little Gabriel’s Fall;

                    (h)   within Ruiz’s scope of duties as the driver of Bus
                          #118, Ruiz had an obligation to inspect and ensure
                          that all cameras and alarms on Bus #118 were
                          working properly on the day of Plaintiff Little
                          Gabriel’s Fall;

                    (i)   that Ruiz’s was operating Bus #118 at an
                          excessively high rate of speed at the time of
                          Plaintiff Little Gabriel’s Fall;

                    (j)   immediately prior to Plaintiff Little Gabriel’s Fall,
                          Bus #118 was seen to be bouncing up and down as
                          though Bus #118 had run over something or was
                          traveling over uneven pavement, with such
                          bouncing being attributable to the excessive rate of
                          speed and the road conditions;

                    (k)   pictures of the inside of the EEx. Door of Bus #118
                          show marks that could be consistent with damage
                          to the interior side of the EEx. Door, which could

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                          indicate that certain damage occurred to the EEx.
                          Door the day of Plaintiff Little Gabriel’s Fall or
                          prior thereto, which could be attributed to the
                          described bouncing of Bus #118;

                    (l)   witnesses saw Plaintiff Little Gabriel falling, not
                          jumping, from the EEx. Door of Bus #118;

                    (m)   a classmate of Plaintiff Little Gabriel was
                          overheard saying: that he (Little Gabriel) didn’t
                          intentionally jump out;

                    (n)   classmates of Plaintiff Little Gabriel continue to
                          indicate that what really happened to Little Gabriel
                          has yet to be disclosed;

                    (o)   Ayala and Carlsted were both seated at the front of
                          Bus #118;

                    (p)   on the audio tape from Bus #118, buzzing sounds
                          can be heard prior to the time the EEx. Door of
                          Bus #118 fully opened,

                    (q)   Defendant Harlingen CISD subsequently declared
                          Ayala to be one of the district’s Teacher of the
                          Year;

                    (r)   for reasons unknown, Bus #118 was subsequently
                          being parked at the recycle center of Defendant
                          Harlingen CISD; and

                    (s)   in support of her Autopsy Conclusion, Defendants
                          Farley and VF replied: (paraphrasing) that it is
                          common for young men [meaning Hispanic] from
                          the Valley to commit suicide, even without ever
                          showing prior signs of depression.
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For the purposes hereof, subparagraph (a) to (s) shall be collectively referred as to

the “Family Findings.”

                                          The Coverup

          78.    As of the filing of this lawsuit, it remains unclear as to how and why

Plaintiff Little Gabriel’s Fall occurred.

          79.    What are Defendants hiding with Defendants’ Non-Investigation and

Defendants’ adoption of the Great Lie?

          80.    Even with the Family Findings obtained through the Family

Investigation, the following questions remain:

                       (a)   Why did the EEx. Door open?

                       (b)   Did the EEx. Door malfunction and open on its own?

                       (c)   Was Plaintiff Little Gabriel pushed through the
                             EEx. Door?

                       (d)   Why did Defendant Edinburg PD refuse to
                             impound Bus #118 as part of The Non-
                             Investigation?

                       (e)   Why did Defendant Harlingen CISD refuse to
                             impound Bus #118 as part of the Non-
                             Investigation?

                       (f)   Why did Defendant Harlingen CISD continue to
                             use Bus #118 after Little Gabriel’s Fall?

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                    (g)   Did Ruiz perform a safety check of the EEx. Door
                          before the Field Trip?

                    (h)   Had the EEx. Door ever malfunctioned previously?

                    (i)   Did Harlingen CISD actually install new video
                          cameras on Bus #118 before the Field Trip?

                    (j)   Why is there no video of the moments leading up
                          to, and including, Plaintiff Little Gabriel’s Fall?

                    (k)   Was the Bus #118 Video tampered with?

                    (l)   Why did Cavazos never publicly announce that the
                          Bus #118 Video had failed?

                    (m)   Why did Ayala not sit at the back of Bus #118?

                    (n)   Why did Carlsted not sit at the back of Bus #118?

                    (o)   Why did Ruiz not slow down when the EEx. Door
                          buzzer sounded, indicating it was opening?

                    (p)   Were there monitors at the front of Bus #118 that
                          would have indicated the EEx. Door was opening?
                          If not, why not?

                    (q)   Did Defendant Harlingen CISD actually install
                          new cameras on Bus #118?

                    (r)   Did the Non-Investigation ever obtain a digital
                          copy of the CCTV Clip?




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                    (s)    Was the Non-Investigation and the Great Lie
                           merely a “coverup” to avoid a meaningful
                           investigation?

                    (t)    Even though a 2007 Texas law mandated seat belts
                           for school buses, why were there no seat belts on
                           Bus #118?

                    (u)    Why were the students on Bus #118 allowed to
                           stand up on Bus #118?

                    (v)    Why do students from Bus #118 keep posting on
                           social media that “the true story of Plaintiff Little
                           Gabriel’s Death has not yet been told?”

                    (w)    Why do other students keep posting on social
                           media that “the true story of Plaintiff Little
                           Gabriel’s Death has not yet been told?”

                    (x)    Where is the safety review that Defendant Cavazos
                           promised?

                    (y)    Why was Little Gabriel Hispanic ethnicity, male
                           gender, and living in the Valley cited as support
                           for the Great Lie?

                    (z)    Why did Defendant Harlingen CISD declare Ayala
                           to be one of the district’s Teacher of the Year?

                    (aa)   Why was the Autopsy rushed?

                    (bb) Why did the Non-Investigation end after just 48
                         hours?



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                       (cc)   Was the operation of Bus #118 during the Field
                              Trip within the policies and procedures of
                              Defendant Harlingen CISD?

                       (dd) How often during the Non-Investigation did the
                            Defendants confer prior to the announcement of
                            the Great Lie?

                       (ee)   How often did the Defendants confer prior to the
                              announcement of the Great Lie?

                       (ff)   Were any of the 911 callers ever contacted?

                       (gg) Why did the EEx. Door open while Ruiz was
                            operating Bus # 188 at an excessive rate of speed
                            over bumpy road conditions?

For the purposes hereof, subparagraphs (a) to (gg) and others shall be collectively

referred as to the “Unanswered Questions.”

          81.    Pending in the Hidalgo District Court are claims related to the causes

of Little Gabriel’s Death and such matters are not included in the cause of action

asserted herein.

                                 Intentional acts to Harm

          82.    Without limiting the applicable acts constituting bad faith, willfulness,

malice, or reckless disregard, the Plaintiff Estate hereby asserts the following acts

and omissions taken in concert by Defendants, which have caused harm to be

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suffered by the Plaintiff Estate:

                       (a)    the Non-Investigation;

                       (b)    the Great Lie;

                       (c)    the Purposely Limited Evidence;

                       (d)    the Evidence Ignored;

                       (e)    the Continued Falsehoods; and

                       (f)    the Autopsy Conclusion; and

                       (g)    the Coverup of the true cause of Plaintiff Little

                              Gabriel’s Death.

Hereafter the actions in the preceding Paragraphs 16 and 82 which occurred after

the death of Plaintiff Little Gabriel Death shall be collectively referred to herein as

the “Post-Death Acts to Harm.”

                    Defendants’ Action Under the Color of State Law

          83.    Each of the Defendants, and their respective agents were implementing

the policies, practices, and procedures of each respective Defendant when

committing the Post-Death Acts to Harm Plaintiff Little Gabriel.

          84.    If such policies, practices, and procedures are not, in fact written, each

of the Defendants, and their respective agents were implementing the policies,

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practices, and procedures in accord with the customs and practices of the policy

makers of each Defendant when committing the Post-Death Acts to Harm Plaintiff

Little Gabriel.

          85.    Further, Defendants have publically adopted and affirmed the Post-

Death Acts to Harm Plaintiff Little Gabriel.

                                  Harm to Plaintiff Estate

          86.    Defendants’ Post-death Acts to Harm have caused serious injury and

damage to the Plaintiff Estate and is expected to continue to cause, serious injury

and damage to the Plaintiff Estate.

          87.    In order to seek redress for the harm resulting from Defendants’ Post-

death Acts to Harm, the Plaintiff Estate was required to engage legal counsel to

pursue this request for relief.

          88.    All conditions precedent to Plaintiff the Estate to bring these claims

have been satisfied.

                        E. PLAINTIFF’S CAUSES OF ACTION

          89.    The Plaintiff Estate incorporates by reference the facts set forth in the

foregoing ARTICLE D: GENERAL BACKGROUND hereof.




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                             COUNT ONE: SECTION 1983

          90.    Section 1983 of Title 42 of the United States Code provides, in part:

                       “Every person who under color of any statute,
                       ordinance, regulation, custom, or usage, of any
                       State…subjects, or causes to be subjected, and citizen
                       of the United States…to the deprivation of any rights,
                       privileges, or immunities secured by the Constitution
                       and laws, shall be liable to the part injured in an
                       action at law, suit in equity, or other proper
                       proceeding for redress…”

          91.    Under Texas law, the Plaintiff Estate is considered to be a “person”

subject to harm with the right to recover damages.

          92.    Defendants’ Post-death Acts to Harm were committed under the color

of law and resulted in the violation of The Plaintiff Estate’s’ procedural and

substantive due process rights, and equal protection rights, afforded the Plaintiff

Estate under the United States Constitution. As a result, Defendants’ Post-death

Acts to Harm are violations that the Plaintiff Estate is allowed to seek redress under

Section 1983 (“Section 1983 Violations”).

          93.    The Plaintiff Estate has suffered harm and damages as a result of the

Section 1983 Violations set forth herein and committed by Defendants entitling the




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Plaintiff Estate to compensatory damages (actual and consequential) pursuant to

Section 1983, for which the Plaintiff Estate now sues.

                      COUNT TWO: EXEMPLARY DAMAGES

          94.    Defendants’ Section 1983 Violations toward the Plaintiff Estate were

pursued with malice or reckless indifference to the Plaintiff Estate’s protected

rights, thereby entitling the Plaintiff Estate to punitive damages pursuant to Section

1983, for which The Plaintiff Estate now sues.

                   COUNT THREE: POST JUDGMENT INTEREST

          95.    The Plaintiff Estate also requests post judgment interest as may be

allowed by applicable law.

                         COUNT FOUR: ATTORNEYS’ FEES

          96.    The Plaintiff Estate should be awarded its reasonable and necessary

attorneys’ fees incurred in relation to the foregoing as allowed by applicable law.

                          F.    REQUEST FOR JURY TRIAL

          97.    The Plaintiff Estate hereby requests that a jury be empaneled, and, that

the foregoing causes of actions and requests for relief be presented to such jury for

resolution.



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                              G. PRAYER FOR RELIEF

          WHEREFORE, the Plaintiff ESTATE OF GABRIEL MIRANDA, JR, prays

the necessary summons be issued, that upon final trial hereof, that upon final trial

hereof, that judgment be entered in favor of Plaintiff for the actual, consequential,

and exemplary damages set forth herein including post judgment interest; that

Plaintiff be reimbursed its reasonable and necessary attorneys’ fees required to

bring this matter; that all costs of Court be taxed against Defendants; and that

Plaintiff have such further and other relief, general and special, both at law or in

equity, to which Plaintiff may show itself to be justly entitled.

          Respectfully submitted,

                                        GORMAN LAW FIRM, pllc



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                                   EXHIBIT “A”
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